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       OFICINA DE LA DIRECTORA DE INSPECCIÓN DE NOTARÍAS
                INSTRUCCIONES GENERALES A LOS NOTARIOS

 Registro de Fideicomisos

        Conforme lo dispuesto en el Artículo 5 de la Ley 219-2012, conocida como Ley
 de Fideicomisos de Puerto Rico, la Oficina de Inspección de Notarías (O.D.I.N.)
 instruye a los notarios sobre el deber de notificar todo instrumento público de
 constitución, modificación o protocolización de fideicomisos al Registro de
 Fideicomisos, adscrito a la O.D.I.N.

        El 31 de agosto de 2012, se aprobó la Ley 219-2012, que deroga los Artículos
 834 a 874, 31 LPRA secs. 2541-2581 del Código Civil de Puerto Rico sobre
 fideicomisos y decreta su vigencia inmediata. También, ordena la creación de un
 Registro de Fideicomisos, adscrito a la O.D.I.N. El Artículo 5 de la referida Ley
 establece que todo fideicomiso constituido en Puerto Rico se inscribirá en dicho
 registro bajo pena de nulidad y detalla la información básica que se hará constar en la
 inscripción. Igualmente, el citado Artículo confiere a la O.D.I.N. la autoridad para
 disponer de la reglamentación pertinente a los requisitos y forma en que se habrá de
 establecer este Registro.

        En cumplimiento con lo anterior, la O.D.I.N. estableció el Registro de
 Fideicomisos, cuya oficina principal ubica en el tercer piso del Centro Judicial de San
 Juan. Allí, los notarios deberán presentar el formulario de notificación de fideicomiso
 de aquellos instrumentos públicos autorizados en los que se constituye, modifica o
 protocoliza un fideicomiso.

 Inscripción en el Registro

    1. Instrumentos a ser inscritos en el Registro

               Al igual que el instrumento de constitución de fideicomisos, deberán
        presentarse para inscripción en el Registro las modificaciones, enmiendas y
        subsanaciones a dichos instrumentos. La vigencia del Registro es prospectiva.
        Sin embargo, nada impide que una parte con interés solicite la inscripción de un
        instrumento de fideicomiso autorizado con anterioridad a la vigencia de la Ley
        219-2012.

               En el caso de instrumentos de constitución de fideicomisos autorizados
        con anterioridad a la Ley 219-2012, pero que se modifiquen, enmienden o
        subsanen con posterioridad a ésta, la misma tiene que ser notificada al Registro
        para su inscripción y validez. A tales fines, recomendamos la presentación del
        instrumento de constitución que fue modificado, enmendado o subsanado para
        que la información del negocio jurídico esté completa y debidamente inscrita.



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               En el caso de los fideicomisos testamentarios, el notario deberá cumplir
        con los requisitos de notificación establecidos en el Artículo 73 de la Ley Notarial
        de Puerto Rico, 4 L.P.R.A. sec. 2123, y en el Artículo 5 de la Ley 219-2012. El
        notario deberá presentar dos (2) notificaciones a la O.D.I.N. La primera de éstas
        deberá ser enviada al Registro de Testamentos, al día siguiente de la
        autorización del testamento, y la segunda deberá ser dirigida al Registro de
        Fideicomisos, dentro de los primeros diez (10) días del mes siguiente al mes en
        que autorizó el testamento con la disposición de fideicomiso. El instrumento
        público contará con dos (2) números separados de inscripción: los datos de
        inscripción en el Registro de Testamentos, que consisten del tomo, folio y fecha
        de inscripción, y los datos de inscripción en el Registro de Fideicomisos, el cual
        consta de la fecha de inscripción y del número del caso, según el orden de
        presentación.

    2. Procedimiento de inscripción

                El Artículo 5 de la Ley 219-2012 establece la obligación del notario de
        notificar toda escritura de fideicomiso dentro de los primeros diez (10) días del
        mes siguiente al mes en que se autoriza el instrumento. Dicha obligación es
        efectiva a partir del 1 de octubre de 2012. Sin embargo, nada impide que el
        notario notifique la autorización de un instrumento relacionado a un fideicomiso,
        antes del término provisto en el referido artículo de ley.

                La inscripción se hará mediante el formulario de Notificación de
        Constitución de Fideicomiso, el cual está disponible en el Portal de la O.D.I.N.
        (http://www.ramajudicial.pr/odin) y a través de las organizaciones gremiales
        asociadas con el ejercicio de la notaría, como el Instituto del Notariado
        Puertorriqueño, adscrito al Colegio de Abogados de Puerto Rico, y la Asociación
        de Notarios de Puerto Rico.

                En un procedimiento análogo al seguido en los Registros de Poderes y
        Testamentos, establecido en la Regla 60 del Reglamento Notarial de Puerto
        Rico, 4 L.P.R.A. Ap. XXIV R. 60, la notificación será preparada en original y
        copia y entregada a la O.D.I.N. por cualquiera de los medios establecidos:
        personalmente, por correo certificado con acuse de recibo o por correo
        electrónico a la dirección RegistroFideicomisos@ramajudicial.pr. Cuando la
        presentación sea personalmente, el notario deberá incluir una segunda copia de
        la notificación para que se le acuse recibo. En caso de radicarla por correo,
        deberá incluir un sobre pre-dirigido, con el franqueo correspondiente para acusar
        recibo de los datos de inscripción.

                Es de suma importancia que el notario complete el formulario de
        notificación con los datos requeridos para su inscripción en el Registro, toda vez
        que la información solicitada provee uniformidad y claridad en la identificación de
        los diferentes instrumentos y negocios jurídicos inscritos. Si el notario omite
        alguna información en el formulario, ésta le será requerida y dispondrá de un


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        término de tres (3) días laborables a partir del requerimiento de la O.D.I.N. para
        presentar una notificación complementaria.

    3. Certificación de Datos de Inscripción

                El notario que interese certificación de los datos de inscripción en el
        Registro de Fideicomisos, podrá remitir a la O.D.I.N., copia certificada del
        documento autorizado, junto con el pago de los aranceles correspondientes
        ($3.00 S.R.I.). La copia certificada que se presente para dicho trámite deberá
        cumplir con los requisitos establecidos en los Artículos 39 y 42 de la Ley Notarial
        de Puerto Rico, 4 L.P.R.A. secs. 2061 y 2064, y con la Regla 49 del Reglamento
        Notarial de Puerto Rico, 4 L.P.R.A. Ap. XXIV R. 49. La misma puede ser
        presentada junto al formulario de Notificación de Constitución de Fideicomiso,
        para lo que deberá complementar la sección del formulario provista para dicha
        solicitud, o podrá solicitarlo de forma separada, tal como se realiza con la
        certificación de inscripción de una escritura de poder o testamento.

       Las instrucciones aquí dispuestas por la Directora de la O.D.I.N. no constituyen
 una interpretación por parte del Tribunal Supremo de Puerto Rico del contenido y
 alcance de las disposiciones legales enunciadas.

        En San Juan, Puerto Rico, a 1de octubre de 2012.




        Lcda. Lourdes I. Quintana Lloréns
        Directora




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               OFFICE OF THE DIRECTOR OF NOTARY INSPECTIONS
                  GENERAL INSTRUCTIONS FOR THE NOTARIES
 Trusts Registry
        Pursuant to what is provided in Article 5 of Act 219-2012, known as the Trust Law of
 Puerto Rico, the Office of the Director of Notary Inspections (O.D.I.N.) instructs the notaries of
 the duty to notify every public deed of constitution, modification or formalization of trusts to the
 Trusts Registry, assigned to the O.D.I.N.
         On August 31, 2012, Act 219-2012 was approved, which repeals Articles 834 to 874, 31
 LPRA secs. 2541-2581 of the Puerto Rico Civil Code regarding trusts and decrees its immediate
 effectiveness. Also, it orders the creation of a Trusts Registry, assigned to the O.D.I.N. Article 5
 of the referenced law establishes that every trust constituted in Puerto Rico will be recorded in
 such registry under penalty of nullity and details the basic information that the recording will state.
 Also, the cited Article confers O.D.I.N. the authority to dispose of the regulation pertinent to the
 requirements and form in which this Registry will be established.
         In compliance with the foregoing, O.D.I.N. established the Trusts Registry, which main
 office is located in the third floor of the San Juan Judicial Center. There, the notaries must file the
 notification of trust form of those public deeds authorized in which a trust is constituted, modified
 or formalized.

        Recording in the Registry
        1. Deeds to be recorded in the Registry
         Like the deed of constitution of trusts, the modifications, amendments and corrections of
 such deeds must be filed for recording in the Registry. The effectiveness of the Registry is
 prospective. However, nothing prevents a party with interest to request the recording of a deed of
 trust authorized prior to the effectiveness of Law 219-2012.
        In case of deeds of constitution of trusts authorized prior to Law 219-2012, but that are
 modified, amended or corrected after it, they have to be notified to the Registry for its recording
 and validity. To that effect, we recommend the filing of the deed of constitution that was modified,
 amended or corrected so the information of the legal transaction is complete and duly recorded.
         In the case of testamentary trusts, the notary must comply with the notification
 requirements established in Article 73 of the Notary Law of Puerto Rico, 4 L.P.R.A. sec. 2123 and
 in Article 5 of Act 219-2012. The notary must file two (2) notifications to O.D.I.N. The first of
 these must be sent to the Wills Registry, the day after the authorization of the will, and the second
 must be addressed to the Trusts Registry, within the first ten (10) days of the month following the
 month that the will was authorized with the provision of trust. The public deed will have two (2)
 separate recording numbers: the information of the recording in the Wills Registry, that consist of
 volume, page and date of recording, and the information of recording in the Trusts Registry, which
 has the recording date and the case number, according to the filing order.
        2. Recording Procedure

        I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
        translation, to the best of my abilities, of the document in Spanish which I have seen.
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        Article 5 of Act 219-2012 establishes the obligation of the notary to notify every deed of
 trust within the first ten (10) days of the month following the month in which the deed was
 authorized. Such obligation is effective from October 1, 2012. However, nothing prevents the
 notary from notifying the authorization of a deed related to a trust before the term provided in the
 referenced article of law.
        The recording will be done through the Notification of Constitution of Trust form which is
 available in the O.D.I.N. website (http://www.ramajudicial.pr/odin) and through the labor
 organizations associated to the practice of notary law, like the Instituto del Notariado
 Puertorriqueño, assigned to the Colegio de Abogados de Puerto Rico, and the Asociacion de
 Notarios de Puerto Rico.
         In a procedure that is analogous to the one followed in the Power of Attorneys and Wills
 Registries, established in Rule 60 of the Notary Regulation of Puerto Rico 4 L.P.R.A. Ap. XXIV
 R. 60, the notification will be prepared in original and copy and delivered to the O.D.I.N. through
 any of the means established: personally, by certified mail with return receipt or e-mail to the
 address RegistroFideicomisos@ramajudicial.pr. When the filing is done in person, the notary must
 include a second copy of the notification for return receipt. In case of filing it by mail, it must
 include a pre-addressed envelope, with the appropriate postage to return receipt of the recording
 information.
         It is of utmost importance for the notary to complete the notification form with the
 information required for its recording in the Registry, as the information requested provided
 uniformity and clarity in the identification of the different instruments and legal transactions
 recorded. If the notary omits any information in the form, it will be required from the notary and
 he/she will have a term of three (3) work days from the request by O.D.I.N. to file a supplementary
 notification.
        3. Certification of Recording Information
         The notary that wants a certification of the recording information in the Trusts Registry,
 may send to the O.D.I.N. a certified copy of the document authorized, along with the payment of
 the corresponding fees ($3.00 I.R.S) The certified copy that is filed for that procedure must meet
 the requirements established in Articles 39 and 42 of the Notary Law of Puerto Rico, 4 L.P.R.A.
 Ap. XXIV R. 49. It may be filed with the Notification of Constitution of Trust form for which the
 notary must complete the section of the form provided for such request, or may request it
 separately, as done with the certification of recording of power of attorney deed or will.
         The instructions provided therein by the Director of the O.D.I.N. do not constitute an
 interpretation on the part of the Puerto Rico Supreme Court of the content and scope of the legal
 provisions outlined.
        In San Juan, Puerto Rico, on October 1, 2012.
        [signed]
        Lourdes I. Quintana Llorens, Esq.
        Director


        I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
        translation, to the best of my abilities, of the document in Spanish which I have seen.
